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  8                                  UNITED STATES DISTRICT COURT
  9                               SOUTHERN DISTRICT OF CALIFORNIA
 10   UNITED STATES OF AMERICA,                   )       Criminal Case No. 06CR2450-LAB
                                                  )
 11                         Plaintiff,            )
                                                  )
 12          v.                                   )       ORDER OF DISMISSAL OF
                                                  )       INDICTMENT WITHOUT PREJUDICE
 13   VICTOR AFRICA GALANG (8),                   )
                                                  )
 14                         Defendant.            )
                                                  )
 15
             Upon application of the United States Attorney, and good cause appearing therefrom,
 16
             IT IS HEREBY ORDERED that the indictment in the above-captioned case is dismissed without
 17
      prejudice against defendant Victor Africa Galang only.
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 19   DATED: October 22, 2007
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 21                                                   HONORABLE LARRY ALAN BURNS
                                                      United States District Judge
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